           Case 1:19-cv-11838-ALC Document 64 Filed 11/15/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
   Cindy Plasencia,                                           :                       Nov. 15, 2021
                                                              :
                                              Plaintiff,      :
                  -against-
                                                              :   1:19-CV-11838 (ALC)
                                                              :
   City of New York Department of                             :   ORDER TO RESPOND
   Education et al.,                                          :
                                                              :
                                              Defendants. :
                                                              :
------------------------------------------------------------x

ANDREW L. CARTER, JR., United States District Judge:

        The Court is in receipt of Plaintiff Cindy Plasencia's letter dated November 10, 2021,

which the Court construes as a request seeking additional time to have her counsel file their

notice(s) of appearance in this case. ECF No. 63. Although Plaintiff previously represented to the

Court that she would be represented by law firm Feldman Kramer and Monaco, ECF No. 59, it

appears that she is now "currently in the process of hiring a lawyer from [the] law firm of Birdman

Sherman and Leguin" who are "currently reviewing [her] case." ECF No. 63. Plaintiff's letter did

not indicate that she had obtained the consent of Defendants in making her request.

        Accordingly, Defendants are hereby ORDERED to respond to Plaintiff's letter on or before

November 17, 2021. Defendants are instructed to serve a copy of this Order and their written

response on Plaintiff, and file proof of service on ECF, no later than November 17, 2021.

SO ORDERED.

Dated: Nov. 15, 2021
New York, New York


                                                          __________________________________
                                                               ANDREW L. CARTER, JR.
                                                               United States District Judge
